Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 1 of 7
Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 2 of 7
Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 3 of 7
Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 4 of 7
Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 5 of 7
Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 6 of 7
Case 1:05-cr-10254-RWZ Document 56 Filed 08/09/06 Page 7 of 7
